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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                     CRIMINAL ACTION NO. 1:07CR176-P-D

STEPHEN FINCH,                                                                 DEFENDANT.

                                 ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant’s Motion for Continuance [15]. After

due consideration of the motion, the court finds as follows, to-wit:

       Trial is currently set for June 2, 2008. Defense counsel requests a continuance to afford more

time to meet with the defendant, complete inspection of discovery material, prepare any necessary

pretrial motions, and to engage in plea negotiations.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from June 2, 2008 until the new trial date to be set in this matter.

The time is excludable under subsection (h)(8)(A) because, given the circumstances described

above, a continuance is necessary to afford the defendant’s counsel more time to adequately prepare

for his client’s defense. As such, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant’s Motion for Continuance [15] is GRANTED;

       (2) Trial of this matter is continued until Monday, August 4, 2008 at 9:00 a.m. in the United

States Courthouse in Greenville, Mississippi;


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       (3) The delay from June 2, 2008 to August 4, 2008 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is July 14, 2008; and

       (5) The deadline for submitting a plea agreement is July 21, 2008.

       SO ORDERED this the 22nd of May, A.D., 2008.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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